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20                               UNITED STATES DISTRICT COURT
21                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
22                                     WESTERN DIVISION
23     UNITED STATES OF AMERICA ex                 No. CV 16-08697 MWF (SSx)
       rel. BENJAMIN POEHLING,
24                                                 UNITED STATES’ EX PARTE
                   Plaintiffs,                     APPLICATION FOR A TEMPORARY
25                                                 STAY OF MOTION TO COMPEL
                          v.                       DISCOVERY PENDING ISSUANCE OF
26                                                 RULINGS
       UNITEDHEALTH GROUP, INC., et al.,
27
                   Defendants.
28
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 1           Pursuant to Local Rule 7-19, the United States of America hereby respectfully
 2     applies ex parte for an order temporarily staying the briefing and consideration of the
 3     United Defendants’1 Motion to Compel the United States to Produce Documents
 4     pending this Court’s issuance of rulings on the United States’ and relator Poehling’s
 5     motions heard on September 17, 2018. (See Dkt. Nos. 234, 235, 236, and 261.)
 6           A memorandum of points and authorities and a declaration in support of this
 7     application and a proposed order are submitted herewith.
 8           Pursuant to Local Rule 7-19, counsel for United were advised of this application.
 9     Counsel for United stated that United opposed this application and would file an
10     opposition. See Declaration of John E. Lee (“Lee Decl.”), ¶¶ 6-7.
11      Dated: October 3, 2018                   Respectfully submitted,
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27
28           1
                 “United” or “United Defendants” is used to refer to all defendants in this action.
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